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 1
 2
 3
 4
 5
 6                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                      )
                                                  )
                                                          CR-05-180-LRS-1
                                                          CR-05-180-LRS-2
 9              Plaintiff,                        )       CR-05-180-LRS-6
                                                  )
10           vs.                                  )
                                                  )
11 DIXIE ELLEN RANDOCK,
   STEVEN KARL RANDOCK, SR.,
                                                  )
                                                  )
                                                          Final Order of Forfeiture

12 HEIDI KAE LORHAN,                              )
                                                  )
13                            Defendants.         )
                                                  )
14
15           WHEREAS, on July 1, 2008, the Court entered a Preliminary Order of
16 Forfeiture, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
17 2461(c), preliminarily forfeiting to the United States the following:
18           REAL PROPERTY
19                      All that lot or parcel of land, together with its buildings,
                        appurtenances, improvements, fixtures, attachments and
20                      easements, described as Parcel Number 37033.9138 located
                        in Spokane County, Washington, (title to said real property
21                      is vested in Steven Randock and Dixie E. Randock,
                        husband and wife), more particularly described as:
22
                        Parcel Number 37033.9138, located in Spokane County,
23                      Washington:
24                      Parcel A:
25                      That portion of the Southwest Quarter of Section 3,
                        Township 27 North, Range 43 East, W.M., described as
26                      follows:
27                      Beginning at the Southeast Section Corner of Section 4,
                        Township 27 North, Range 43 East, W.M., in Spokane
28                      County, Washington;

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 1                      Thence North 00(12'31" East, 660 feet along the Section
                        line to the True Point of Beginning;
 2                      Thence continuing North 00(12'31" East, 428.00 feet along
                        said Section line;
 3                      Thence North 89(51'24" East, 1,896.68 feet to the thread of
                        the Little Spokane River;
 4                      Thence Southwesterly along said thread to a point that is
                        North 89(51'24" East, 1,427.84 feet and South 00(04'10"
 5                      West, 22.81 feet from the True Point of Beginning;
                        Thence North 00(04'10" East, 22.81 feet;
 6                      Thence South 89(51'24" West, 1,427.84 feet to the True
                        Point of Beginning;
 7
                        Except North Glen Estates recorded in Volume 8 of Plats,
 8                      Page 50;
 9                      Also shown of record as Parcel “A” of survey recorded
                        under Auditor’s File No. 4409581 in Book 88 of Surveys,
10                      Page 92.
11                      Parcel B:
12                      The West 400 feet of that portion of the Southwest Quarter
                        of Section 3, Township 27 North, Range 43 East, W.M., in
13                      Spokane County, Washington, described as follows:
14                      Beginning at the Southwest Corner of Section 3;
                        Thence North 00(04'10" East 73 feet to the True Point of
15                      Beginning;
                        Thence continuing North 00(04'10" East 587 feet along the
16                      Section line;
                        Thence South 89(52'45" East 1,422.87 feet;
17                      Thence South 00(04'10" West 22.81 feet to the centerline
                        of the Little Spokane River;
18                      Thence South 79(12' West 140 feet;
                        Thence South 50(50' West 530 feet;
19                      Thence South 18(54'06" West 181.74 feet;
                        Thence South 00(26'24" West 30 feet;
20                      Thence North 89(52'45: West 816.01 feet to the True Point
                        of Beginning;
21                      Except County Road.
22                      APN: 37033.9138
23                      Together with all appurtenances, fixtures, attachments, and
                        improvements thereto and thereupon.
24
                        SUBJECT to any easements, rights of way, reservations
25                      and/or exceptions of record.
26                      CURRENCY
27                      $10,320.00 United States currency seized on or about
                        August 11, 2005, from Steven Randock and Dixie
28                      Randock.

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 1                      CONVEYANCE
 2                      2001 Jaguar XK8, VIN: SAJDA42CX1NA13599.
 3                      SAFE DEPOSIT BOX
 4
                        $43,600.00 United States currency discovered and seized
 5                      on or about August 11, 2005, from safe deposit box #155,
                        located at American West Bank, rented by Lawrence
 6                      (“Larry”) Randock and/or Steven K. Randock, Sr.
 7                      FUNDS SEIZED FROM BANK ACCOUNTS
 8                      1)    Funds in the amount of $2,042.54 United States
                        currency, held in the name of AEIT, Inc., and/or Steven
 9                      Randock and Dixie Randock, seized from Wells Fargo
                        Bank Account Number XXX-XXX2052 on or about
10                      August 11, 2005; and,
11                      2)    Funds in the amount of $555.43 United States
                        currency, held in the name of AEIT and/or Steven Randock
12                      and Dixie Randock, seized from Bank of Fairfield Account
                        Number XXXX8759 on or about August 11, 2005.
13
                        BANK ACCOUNT(S)
14
                        1) $280,000.00 United States funds or other monetary
15                      instruments credited to Banc Caribe Account Number CK-
                        XX0941, held in the name of Saint Regise University
16                      (AEIT Peer Degree Program) Graduate School, and/or
                        Steven Randock and Dixie Randock;
17
                        2) $150,000.00 United States funds or other monetary
18                      instruments credited to Banc Caribe Account Number SV-
                        XX0084, held in the name of Saint Regise University
19                      (AEIT Peer Degree Program) Graduate School, and/or
                        Steven Randock and Dixie Randock; and,
20
                        3) $50,000.00 United States funds or other monetary
21                      instruments credited to Loyal Bank, Limited Account
                        Number XXXXXXXX2405, held in the names of Steven
22                      K. Randock and Dixie Randock.
23
             On or about July 30, 2008, PriceWaterhouseCooper, remitted $247,414.83 U.S.
24
     funds to the United States from the funds that it was holding from the Randock
25
     accounts as the liquidator of Banc Caribe. These funds are allocated as follows:
26
                        1) $146,688.79 United States funds held in Banc Caribe
27                      Account Number CK-100941, held in the name of Saint
                        Regise University (AEIT Peer Degree Program) Graduate
28                      School, and/or Steven Randock and Dixie Randock;

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 1                      2) $100,726.04 United States funds held in Banc Caribe
                        Account Number SV-200084, held in the name of Saint
 2                      Regise University (AEIT Peer Degree Program) Graduate
                        School, and/or Steven Randock and Dixie Randock.
 3
 4           Therefore, the United States is seeking forfeiture of the $247,414.83 in United
 5 States funds. If any additional funds are recovered from the Banc Caribe accounts,
 6 the United States will file an amended final order of forfeiture.
 7           WHEREAS Defendant DIXIE ELLEN RANDOCK’s interest in the assets
 8 described above was forfeited to the United States pursuant to the plea agreement and
 9 judgment filed herein.
10           WHEREAS Defendant STEVEN KARL RANDOCK, JR.’s interest in the
11 assets described above was forfeited to the United States pursuant to the plea
12 agreement and judgment filed herein.
13           WHEREAS Defendant HEIDI LORHAN’s interest in the assets described
14 above was forfeited to the United States pursuant to the plea agreement and judgment
15 filed herein.
16 1         WHEREAS, Fed. R. Crim. P. 32.2, and 21 U.S.C. § 853(n), as incorporated by
17 28 U.S.C. § 2461(c), require the resolution of all third-party claims to the property in
18 the final order of forfeiture.
19           On August 14, 21, and 28, 2008, the Notice of Amended Preliminary Order of
20 Forfeiture was published in the Cheney Free Press, a newspaper of general circulation
21 in Spokane County, Washington, which notified all third parties of their right to
22 petition the Court for a hearing to adjudicate the validity of their alleged legal interest
23 in the assets described above. At the latest, the claim period expired on September 29,
24 2008.
25           On July 8, 2008, Jack and Lynda Maselli were served via certified mail with a
26 copy of the Notice of Amended Preliminary Order of Forfeiture, and Amended
27 Preliminary Order of Forfeiture, as evidenced by the Certificate of Service of Notice
28 by Mail filed herein on October 29, 2008. On August 1, 2008, Jack and Lynda

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 1 Maselli filed a Petition. On September 12, 2008, the United States and Petitioners,
 2 Jack and Lynda Maselli, filed an Expedited Settlement Agreement.
 3           On July 8, 2008, Phillip and Marilyn Blackwell were served via certified mail
 4 with a copy of the Notice of Amended Preliminary Order of Forfeiture, and Amended
 5 Preliminary Order of Forfeiture, as evidenced by the Certificate of Service of Notice
 6 by Mail filed herein on August 26, 2008. On August 4, 2008, Phillip and Marilyn
 7 Blackwell filed a Petition. On September 23, 2008, the United States and Petitioners
 8 filed an Expedited Settlement Agreement
 9           On July 8, 2008, Spokane Merchants Association was served via certified mail
10 with a copy of the Notice of Amended Preliminary Order of Forfeiture, and Amended
11 Preliminary Order of Forfeiture, as evidenced by the Certificate of Service of Notice
12 by Mail filed herein on August 26, 2008. To date, the Spokane Merchants Association
13 has not filed a Petition.
14           On July 8, 2008, Steven Randock, Jr., and Lawrence Randock were served via
15 certified mail with a copy of the Notice of Amended Preliminary Order of Forfeiture,
16 and Amended Preliminary Order of Forfeiture, as evidenced by the Certificate of
17 Service of Notice by Mail filed herein on August 26, 2008. To date, no Petition has
18 been filed by either Steven Randock, Jr., or Lawrence Randock.
19           It appearing to the Court that Defendant, DIXIE ELLEN RANDOCK’s interest
20 has been resolved by the judgement filed herein;
21           It appearing to the Court that Defendant, STEVEN KARL RANDOCK, JR.’s
22 interest has been resolved by the judgment filed herein;
23           It appearing to the Court that Defendant, HEIDI LORHAN’s interest has been
24 resolved by the judgement filed herein;
25           It further appearing to the Court that no other timely petitions have been made
26 claiming an interest in the assets described herein;
27
28

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 1           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the assets
 2 described herein are hereby condemned and forfeited to the United States of America
 3 and no interest shall exist in any other person.
 4           IT IS FURTHER ORDERED that the United States Secret Service shall
 5 physically seize and take custody of any of the assets not currently in the United
 6 States’ custody, and shall dispose of the forfeited property in accordance with law.
 7           IT IS FURTHER ORDERED, pursuant to the Expedited Settlement Agreement
 8 filed by the United States and Petitioners, Jack and Lynda Maselli, that upon the sale
 9 of the real property known as Parcel Number 37033.9138 located in Spokane County,
10 Washington, described herein, the United States Secret Service shall pay Petitioners,
11 Jack and Lynda Maselli, the following amounts:
12                      a.   The total amount due Petitioners, as of August 1, 2008, which
13 includes all unpaid principal, attorney’s fees, costs, and accrued interest, in the amount
14 of $32,117.90, pursuant to a lien secured by a judgment obtained by Petitioners. Said
15 judgment is attached to the settlement agreement filed herein; and,
16                      b.   Additional interest assessed at $4.91 per diem from August 2,
17 2008, until the date of payment.
18           IT IS FURTHER ORDERED, pursuant to the Expedited Settlement Agreement
19 filed by the United States and Petitioners, Phillip and Marilyn Blackwell, that upon
20 the sale of the real property known as Parcel Number 37033.9138 located in Spokane
21 County, Washington, described herein, the United States Secret Service shall pay
22 Petitioners, Phillip and Marilyn Blackwell, the following amounts:
23                      a.   The total amount due Petitioners, as of September 19, 2008, which
24 includes all unpaid principal and accrued interest, less payments of $1,867.54, in the
25 amount of $46,501.92, pursuant to an Arbitration Award secured by a judgment
26 obtained by Petitioners. Said judgment is attached to the settlement agreement filed
27 herein; and
28

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 1                      b.   Additional interest assessed at $8.22 per diem from September 20,
 2 2008, until the date of payment.
 3           IT IS FURTHER ORDERED that the Court shall retain jurisdiction in this case
 4 for the purpose of enforcing this order.
 5           ORDERED this 4th day of November, 2008.
 6
                                                s/Lonny R. Suko
 7
                                                Lonny R. Suko
 8                                              United States District Judge
 9
     Presented by:
10
   James A. McDevitt
11 United States Attorney
12 s/Jared C. Kimball
13 Jared C. Kimball
   Assistant United States Attorney
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